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Michael Anthony, J+1289]

P.V.S.F., C3206:
P.O. Bow, 8503:
Coalinga, CA 93210

 

In Pro Se NOV 3 9 2005
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DEPUTY CLEAR

IN THE UNITED STATES DISTRICT COURT

FOR THE BASTERN DISTHICL OF CALIFORNIA

Michael Anthony,
Petitioner

No. CLV 5£¥0240081 FCD JPM P

OBJECTIONS TO THE
MAGISTRATES FINDINGS
ia D RECOMMENDATIONS

Vee

Gail Lewis, Warden, et al.,
Res pondants

 

28. O THE ABOVE ENTITLED COURT;

Pursuant to the order of this court, petitioner herein files
these cbjections to the Magistrates findings and recommendations:
(Hereinafter referred to as IF & R throughout).

The deadline for filing thease objections is December 1, 2005,
pursuant to court order dated Nov. 1, 2005. Therefore, these
objections are timely.

Because the Magistrates findings are extensive and complicated
petitioner will try to. duplicate his format.

PROCEDURAL BACKROUND (F & R at pp. 2+5).

Petitioner has no objections to the procedural backround
provided by the magistrate.

FACTUAL BACKROUND (F & Rat p. 5).

Patitioner has no objections to the factual backround provided
by the court.
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I. STANDARDS FOR WRIT OF HABEAS. CORPUS (F & R at p. &).

Petitioner has no objections to the standards for writ of
habeas corpus as outlined by the court.

IL. PETITIONERS CLAIMS (F & R at p. 7).

Ay INEFFECTIVE ASSISTANCE OF TRIAL COUNSEL.

Petitioner has no objeotions to the way the court characterizes
his ineffective assistance of counsel claim.

Y. STANDARDS OF REVIEW (F & Rat p. 7),

Under the etandards of review, the court basically states
that the firet three prongs of petitioners IAC claim must be re-
viewed dé novo, as there is no state court decision on the merits.
As for the fourth prong, it was denied on the merits by the
Superior Court of Shasta County ard, therefore, must be anslyzed
gaecording to the standards set forth in the ABDPA. (28 U.5.¢.,
Sec. 2254(a).) Petitioner has no objection to this.

>, LEGAL STANDARDS FOR REVIEWING AN IAC GLAIM (F'# R at p, 9).

Petitioner has no objections to the Lepal standards for
reviewing an TAC claim articulated by the court.

3 ANALYSIS: (F & Rat m9).

Here is where petitioner will begin his objections to the
courts findings.

The Court states: ‘Petitioner may not raise claims of
devrivation of his constitutional rights that occurred »rior to
his guilty plea (citations omitted)...Petitioner waived these
ineffective assistance of counsel claims when he chose to plead
mauilty." (F& Rat p. 10, lines 1-12). The courts reasoning is
that counsels advice occurred prior to the entry of the guilty
plea, ,

However, petitioner would argue that counsel's advice became
ineffective assistance only after the imnosition of the illegal
sentence and the illegal dismissal of enhancements. Theoretically,
there was uo illegality wntil after the imposition of the illegal
plea bargain and the illegal dismissal of enhancements. Hence,
the claimed constitutional deprivation occurred after the entry
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of the guilty plea so Tollett doesn't apply here.

Moreover, "neither (Tollett) nor the cases on which it relied,
aeg., (Brady) and (McMann), stand for the vroposition that
counseled guilty pleas inevitably waive all antecedant constitutional
violations. ‘the point of these cases is that a counseled guilty
plea is an admission of factual gailt so reliable, that where
voluntary and intelligent, it Quite validly removes the issue of
factual guilt from the case." U.S. Ex rel. Potts v. Carans, 700
F.Supp, 1505, 1516 at fn. 3 quoting Menna v, New York, 423.U.5. 62,
62 at n. 1, 96 S.Ct. 241, 242 at n. 1.

fven under Tollett, a habeas petitioner may atill obtain
relief for & constitutional error occurring prior te a suilty plea
if counsels failure to raise or to investigate the errors
constitutes ineffective assistance of Counsel. Tollett, 411 U.S at
267, 93 S.Ct. at 1606.

However, assuming the court le right and petitioner can only
attack the voluntary and intelligent nature of the plea "by show-
ing that counsel's advice fell below an objective standard of
reasonableness..." (FP & Rat vo. 10, lines 24-25) "as measured
under prevailing professional norma." Strickland v. Washington,
466 U.S. at p. 688, he has plainly done that.

The “prevailing professional nornea" are:

(1) There is no plea bargaining under the 3-strikes law. (See
Peoole v. Dloyd, (Cal. 1998) 72 Cal.Rptr.2d 224, 228-29; People ve
Cortez, 64 Cal.Rotr.2d 71, 74 at fn. 4 (Cal. App 3 Dist. 1997);
People vv Aller, 57 Cal.Rptr.2d 269 (Cal. App. 2 Dist. 1996);
People v. Ramos, 55 Cal.Rptr.2d:1 at fn. 2 (Cal. App. 2 Dist. 19946);
People vs Williams, (1995) 46 Cal. Rptr.2d 728; and Cal. Pen. Code,
Sees. 667(¢) and 1170.12(e)).

(2) There is not to be any dismissal of enhancements. (See

 

Beople v. Bailey, 44 Cal. Rptr.2d at p. 213; People v. Williams,
196 Cal.App.3d at p. 11604 People v. Petty, 44 Cal.Nptr.2d 34;
People wi Anderson, 41 Cal, Rptr.2d 474; People v. Ramirez, 39. Cal.
Rptr.2d 374; Michael vs Gates, 45 Cal.Rptr.2d° 163; People v.

 

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Glaster, 45 Cal.Rptr.2d 65; People v. Loomis, 44 Cal.Rptr.2d. 775%
People: vw. Rucker, 48 Cal. Rptr.2d 432; and Cal. Pen. Code, Seca,
1385(0), 667(e), 1170.12(¢), and 1238(10).) counsel plainly

, acted outside the “prevailing professional norms."

The court next concludes that because of the "overwhelming"
case againat petitioner, that fact "nrecludes & reasonable claim
that petitioner would have insisted on going to trial if he had
been informed that his favorable plea agreement was in technical
violation of estate law." (F& Rat ps 11, lines 9-10).

Short of trying the case in this court, the assumption that
the prosecutions case was "overwhelming" is simply an unsubstantiated
opinion. Moreover, the court is missing a key point. 4s will be
addressed in prong threes of petitioners TAG claim, petitioner is
being subjected to five years more in prison than bargained for
pecause of counsels failure to investigate the lssue of custody
credits. Another important key that the court ttissesa is that the

court lacks the authority to enter an illegal judgment so whether
or not petitioner would have gone to trial is moot.

Accordingly, the first two prongs of petitioners TAC claim
should be granted as counsels illegal advice is clearly contrary
to "prevailing professional nore."

With regards to the third prong of petitioners IAC claim:
Counsel was ineffective for informing petitioner he would receive
20% credits on his life sentence when he in fact cannot receive
those credits according to law. The court argues: "The difference
between parole eligibility in 20 years and parole eligibility in
25 years, although important, does not rise to the level of a
"orogs mischaracterization" of the Likely sentencing outcome so
as to invalidate vetitioners guilty ples." (F& Rat p. 13, lines
6-9), The courts reasoning is based on their intervretation of
taea v. Sunn, 800 F.2d 861, 865 (9th Cir. 1996).

Petitioner respectfully suggests that our Nations highest
court has never articulated nor condoned the "gross
mischaracterization doctrine. In fact, the court just held in

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Glover v. UL5., L2l S.Ct. 696 that suecms rule is not "well
considered in any event, because there is no obvious dividing
line by which to measure how much longer a sentence must be for
the increase to constitute substantial prejudice ... the amount
of increase in sentence ... cannot serve ag a bar to showing
prejudice." id. at ov. 701.

‘the court has.also held: "A plea of guilty entered by one
fully aware of the direct consequences ... must stand, unless
induced by ... misrepresentation, including unfulfilled or unful-—
fillable promises..." Brady v. United States, (1970) 96 $.cb. 1463,
at headnote 16. The Brady court further stated: "To be admissabke
a confession (of guilt) must be free and voluntary; that is, it
must not be’... obtained by any direct or implied promises how-
ever slight..." id. at headnote 15. Likewise, the court also
stated: “where a promise is unfulfilled, specifically denies that
the plea must stand." Brady, 397 U.S. 742 at p. 755.

In United States ex rel. Baker v. Finkbeiner, (1977) 551 ¥,2d
186, Baker was not informed of a two year parole term and the court
therein held: "We do not find the imposition of a two year parole
term to be an insignificant wunishment. We therefore hold that
Bakers guilty pleas was unfairly induced in violation of the Due
Process clause." id. at p. 184.

Was Baker prejudiced by this additional period of custody?

The court in United States ex.rel. Williame v. Morrie, (1980) 633
B,2d 71,75 ruled that he was when they compared the Baker
decision to the Timmreck decision. The court stated: ‘Raker was:
prejudiced in that he received a Hentence calling for two years

of custody (on parole) more than he bargained for." id. st ne 75.

Santobello v. New York, 404 U.S. 257, 92 S.Ct. 495 states:
"When a plea rests in any gignificant degree on 4a oromise or asree~

 

ment of the prosecutor, so that it can be said to be a part of the
inducement or consideration, such promise must be fulfilled."

td. ato vo. 499. The court further atated: "That the breach of

of agreement was inadvertant does not lessen its imnact." id. at

Bite

 
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pe 499. Thus, the amount of the disnarity is irrelevant. Petitioner
Was promised 20% credits. He is not getting those credits and is
having to serve 5 more years than bargained for. Therefore, his

plea cannot be knowing and voluntary,

Thais issue of voluntariness is specifically addreased in
MeCarthy v. U.S,, 89 $.Ct., 1165: “because a guilty »2lea is an
admission of al] the elements of a formal criminal charge, it
cannot be truly voluntary unless the defendant vossesses an
understanding of the law in relation to the facts." id, at on. L17t.

Counsel's failure to "ascertain through minimal research"

Hill ov. Lockhart, 894 F.2d 1009 cert denied 497 1.5. 1C11, 110
S.Ct 3258 the wero credit rule, and his errornesous narole eligibility
eivice constitutes IAC,

The courte citation of Isea v. Sunn, for their “erose
Mmischaracterigation" doctrine is really not on noint with petitioners
claim anyway. Taea nled guilty with the knowledge that the
prosecutor was goings to aeek the maximun nernalty. In fact, prior
to acecenting his olea, the court informed Isea that he could still
receive a life sentence. TIaea chose to plead guilty with that
knowledge. (Isaea v. Sunn, 800 F.2d 861, Pacts of the fase at on.
863.) Iaea was never promised anything. Me was told that it
was nosaible he would receive a life sentence and he did. The only
Treason he was remanded ig because counsel coerced hin into vlead-
ing guilty. Conversely, netitioner was sromised 20% ereditsa by
both counsel and the court. Said promise is unfulfilled, and is
im fact unfulfillable,

The court, lastly denies that the state of California is in
breach of the plea agreement. The court states: "The statd did
parole eligibility." (eitations omitted). (F & R at pp. 13-14).

That arguement fails. The fact of the matter is that the
promise of 20% credits was part of the contract an it is unful-
filled, the mlen doesn't stand and must be vacated.

The court next states: “further, wetitioner has not pointed

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tO any vart of the vlea agreement that was breached." (FP & 2 at
p. 14). ‘his is patently false. Throughout these nroceedings
netitioner has stated that the »vromise of 20% eradits is unful+
filled and, therefore, the abate is in breach of contract
regarding the isaue of 20% custody credits. (See e.g., Traverse
at o, 19.)

"Althoush ~lea agreements are a matter of criminal juris-
prudence such agreenents are contractual in nature and must be
Measured hy contract law standards." U.S. v. Sutton, 794 F.2a
1415 (9th Cir. 1986); U.S. v. Kramer, 781.F.2d 1380 (Sth cir. 1986);
and U.S. v. Schuman, 127 F.3d 815 (9th Gir. 1997). Thus, because
a olea bargain is a contract, it ean be breached,

"Courts mast look to facts of each case to determine what
Was reasonably understood by the parties to be terms of vlea
agreement." U.S. v. Gerace, 997 F.2d 1293 (9th Cir. 1993). "In
intervreting plea agreements, the government is to be held to the
literal terms of the agreement." U.S. v. Anderson, 990 P.2d 602
(9th Gir. 1992) as amended 990 F.2d 1163 (1993); and U.S .v. Phillins,
174 F.3d 1074 (9th Gir. 1999).

In this case, the promise of 20% credits was 4 component of
the plea bargain. It is unfulfilled. Therefore, the state is in
breach, and sinece the promise of 204 credits is unfulfillable by
law, the vlea must be vacated.

Moreover, this breach cannot constitute "harmless error" ag
the harmless error rule deesn't apnly to a breach of plea agree-
ment. U.S. v. Mondragon, 228 F.3d 978, 98L (9th Cir. 200);

U.S. v. Johnson, 187 F.3d 1129, 1135 (9th Cir. 1999).

As for the prejudice prong: Our nations highest court recently
held: "Authority doss not suggest that a minimal amount of
additional time in prigon cannot constitute vrejudice." Glover
v. U.S., 121 3.0t. 696, 700. Thay further stated: Such a rule
ig not “well considered in any event, because there is no
obvicus dividing line by which to measure how much longer a
sentence must be for the inerease to constitute substantial

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prejudice ... the amount of increase in sentence ... cannot serve
aga bar to showing prejudice." id. at p. 7O1.

Should this court find that the state has indeed breached the
plea agreement, it should remand the cease so that the state can
devise the proper remedy. Santobello v. New York, 404 U.S. 257,
262-63 (1971); and Gunn vy. Ignacio, 263 7.34 965, 970-71 (Yth ir.
2001).

At the very least, petitioner is entitled to an evidentiary
hearing or, #6 the courts discretion, discovery or exvansion of the
record. Blackledge v. Allison, 431 U.S. 63, 76, 80-82 (1977)
(Allegation of breach entitles defendant to an evidentiary hearing
unless defendants allegations ara "palpably incredible" or
"natently frivolous or false").

The courts findings as to the fourth vart of petitioners TAG
elaim are Quite confusing. The court first states: ‘Petitioner
is not claiming that his plea was actually involuntary due to
mental incompetency, nor does he claim that the trial court should
have raised the issue of vnetitioners comnetence sua sponte.
Accordingly, cases cited by petitioner addressing such ¢eclaimsa are
not on point." (F& Rat p 14, fn. 4).

The courts findings are incorrect, Patitioner Specifically
atated: ‘An incomnetent defendant cannot make a valid suilty
nlea. Miles v. Stainer, 108 7.34 1109, 1112 (9th Gir. 1997)."
(Traverse at pu. 23-24). If an incompetent defendants suilty ples
ia invalid --- then it must also be involuntary.

Petitioner further stated: "Defense counsel has an affirmative
duty to conduct a careful investigation concerning the mental
competency of his or her client when evidence exiate of
jncomvetency. Evana v. Lewis & Bramlett, 855 F.2d 631 (9th Cir.
1988). He may not waive or unilaterally discard thie issue. Pate:
vy. Robinson, (1966) 383 U.S. 375, 86 S.ct 836... Counsel was
aware of petitioners incomnetency, yet he failed in his duty to

 

investigate the matter. Counsel did in fact visit petitioner
while he was in a suicide cell... (Traverse at o. 25).
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While petitioner may not have used the exact words: sua.
sponte, ne did in fact argue that counsel had a duty to reauest
a competency hearing on the snot when confronted with evidence
of petitioners incomnetency. Accordingly, all cases cited by
petitioner sre directly on point.

The court go's on to argug whether the state courts rejection
of this claim involved a contrary to or unressonable annlication
of Strickland. (F*& Rat pp. 15-18). They conclude that it
didn't because "the record before the court does not substantiate
petitioners claim that he was unable to understand the praceedings
against him or to enter @ voluntary and knowing guilty plea, nor
does it raise a "honafide doubt" as to his conpetency to stand
trial." (FP % ® at p. 18).

This is an erroroneaous interpretation of the law and facts
of tnis case.

In Dusky v. United States, the suoreme court explained the
test for competency: A trial court must determine whether the
defendant "has sufficient present ability to consult with his
Lawyer with & reasonable degrees of rational as well as factual
understanding of the proceedings against him.” 362 l1.5. 402
(1960),

Although the court has not articulated the sanecifiec ¢eriteria
necesaary to deternine whether sufficient doubt exists, it has
recommended that the factfinder consider "evidence of a defendants
irrationable behavior, his demeanor at trial, and any prior
medical opinion." rope v. Wissouri, (1975) 420 U.S. 162, 18.

As apolied to the facts of this case: Petitionera irrational

 

behavior was his suicide attempt which landed him in a suicide
eell. As for the prior medical opinion; counsel had in his
possession medical records attesting to petitioners aental ill
ness and prior hosvitalization for a suicide attempt.

Tikewise, the Ninth Circuit in discussing what constitutes
evidence of incomvetency stated: “evidence of anbisccial
behavior, mental illness, emotional outbursts, narcotics usage,
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and -other factors indicating poor judgement and insight are
“orobative of a. defendants competence to enter a muilty plea.”
Chavez v. U.S., 656 F.2d 512, 519 (9th Gir. 1981). 4s Applied to
petitioner; he has a documented mental illness and showed "noor
judgement and insight” by trying to commit suicide while in the
county jail.

The court goes on to conclude: “the court does not find
good cause to conduct an evidentiary hearing." (Ff & Rat n. 18).
Petitioner disagrees and reaaserts that an evidentiary hearing is
imparative to resolving this issue.

For all the reasons stated, the court should grant the writ
with respect to ground one.

B. TRIAL COURTS ACCEPTANCE OF PLEA AGREEMENT

With regards to patitioners second claim: "the trial court
exceeded their jurisdiction as set forth in the Cal. Pensl Code
(e.g., their ratification of the illegal plea bargain, and their
illegal dismissal of enhancements as a component of said bargain).
(petition at pp. 5,’12 and traverse at pn. 30-32).

The court begins their "findings and recommendations" by
Limiting the d@efintion.of "Jurisdiction" to only two possibilities:
(1) an unconstitutional statute: and (2) subject matter jurisdiction.
(F& Rat p. 20, lines 20-23}, The courts findings would be
correct if these were the only possible definitions of
jurisdiction".

The fact of the matter is that the term jurisdiction has so
many different meanings that no single statement can be entirely
gatisfactory as a definition. Generally, the term "jurisdiction"
means (1) the right or authority to interpret and apply the Law
and (2) the limits within which authority carn be exercised.

The Limits within which the courts authority may be exercised
are defined by: constitutional provisions; exoress statutory
declarationa; rules develoved by courts; and case law (which is
the intervretation of express statutory declarations).

In this case, the courts authority is defined by the Calif.

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penal code. Specifically, sections 667(g); 1170.12(e); and
1385(b).° Both 667(g) and 1170.12(e) provide relevent part:
“Prior felony convictions shall not be used in vlea bargaining as
defined in subd. (b) of section 1192.7..." The expreags statutory
declaration is clear: there shall be no plea bargaining in 4
j-strikes case. When the court accented and ratified the plea
bargain, they exceeded their authority as defined by statute.
Therefore, they acted in excess of their jurisdiction.

Section 1385 provides in relevent part:

(a) The judge...may order an action to be dismissed...

(o) This section does not authorize a judge to strike a prior
conviction of a serious felony for purposes of enhancement of a
sentence under section 667.

fhe express statutory authority in section 1385(b) is clear.
The judge cannot diemisa 667 enhancements. Therefore, when the
judge dismissed netitioners two 667(4a) enhancements as a component
of the plea bargain (RT, 5-6; P& Rat p. 19, fn. 5) --- he
exceeded his authority. He acted in excess of his jurisdiction.

The Supreme Court held in Memna v. New York, 423:U.S5. at
62-63, that "jurisdictional issues, are rights which are justified

 

as protecting something other than the truthdadeeking process." In
this case, the court exceeded their jurisdiction ae set forth in
statutes. Thus, netitioners claim can properly be termed
"Jurladictional" as it challenges something other than the truth
seeking process.

Lastly, the court states that netitioner isn't entitled to
relief on thie claim because the “error alleged (didn't) result
in a complete miscarriage of justice." The court relies on Hill
v. United States, 368 U.S. 424, 428 (1962) and Christian v. Rhode,
Al #.3a 461 (9th Gir. 1994) to sunnort this conclusion. (FP& R
at p. 21). This interpretation is legally flawed!

 

fo begin with; there is no "missecarriage of justice” doctrine
artioulated in Hill. Moreover, Hill was a federal prisoner,

tried and convicted in federal court, challenging a federal statute:

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Hill brought @ motion to vacate under 28 U.S.C. 2255. We alleged
violations of federal statute (i.e., Rule 32(a) of Federal rules
of criminal procedure, Title 18 U.S.C.) Wis claim was deemed
not of a constitutional nature and was denied. Purthermore, all
the cases petitioner has researched that rely on Hill, also deal
with only challenges to federal statutes, (See e.g., Cross v.
Cunningham, 87 F.3d 586, 587 (1st Cir. 1996)( challenging Inter-
state Agreement on Detainers Act); Kerr v. Finkbeiner, 757 F.2d.
6C4, 607 (4th Cir. 1985) (Same); Napoli v. U.S., 32 3d 31, 35.
(2nd. Cir. 1994) (challenging incorrect jury instruction under
RICO); Llamas-Almaguer v. Wainwright, 666 #.2d.191, 194 (5th: Cir.
1982) (claimed that state violated federal wiretapping statute).

Thus, Hill doesn't extend to state vorisoners challenging
state court errors of constitutional magnitude under 28 U.S.¢.
2254.

The other case the court relies on is Chriatian v, Rhode.
This cage 18 similar to the ones cited above. Christian didn't
argue, 4&8 petitioner does here, that the trial court exceeded
their jurisdiction by imposing an illegal sentence, Rather, he
only alleged that he shouldn't receive an enhancement for a
federal conviction of wiretapping. (41 F.3d 461 (9th Gir. 1994).)

.Ageordingly, the cases relied upon by the court to

 

 

substantiate their findings sre moot.

"Tt is well settled that a sentence which does not comply
with the Letter of the criminal statute is not only erroroneous
but void." Mathes v. United States, 254 F.2d 938, 939 (9th Cir.
1958) citing Bozza v. United States, (1943) 67 S.C? 645, 649,

@. WHETHER APPLICATION OF. THREE STRIKES LAW VIOLATED .
PETITIONERS PREVIOUS PLEA AGREEMENTS (F & Rist p. 22)

From the outset, (by using the words they did in the heading),

 

the court makes it clear they didn't understand petitioners claim,
While the court cites verbatim petitioners claim from his traverse
(F&® Rat po. 22, lines 4-7) they neither interpret the claim
correctly, nor do they provide any findings on point with it.

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The courts findings, in their entirety, are rendered moot
by the erroroneous assumption that petitioner is challenging his
prior convictions. This is not the case at all! Petitioner is
challenging his current conviction and the constitutionality of
Californias 3-strikes law! (See Traverse at pp. 33-40).

For the benefit of the court, petitioner will again state
his claim but first he would like to address a few of the courts
findings.

First, the court states: “Any claim that the use of
petitioners prior convictions as "strikes" under the three strikes
law violated the California Constitution is not cognizable on
federal habeas corpus. MeGuire, 502 U.S. at 67~68; Middleton,
768 F.2d at 1685." (F& Rat p. 22, fn. 6). This finding is
meritless. Petitioner specifically referenced Article 1, Section
10 of the United States Constitution. Petitioner did also
reference Article 1, Section 9 of the Calif. Constitution. How-
ever, this was only to show that Galifornias Constitution stated
the same as the U.S. Constitution.

- Becondly, the court finds that because this claim was denied
by the Superior Court in & reasoned decision this claim must be
analyzed under the "contrary to" or “unreasonable application of"
Glause contained in 28 U.S.G, 2254(a). (F& Rat pe. 22), Petitioner
resvectfully disagrees that the Superior Court issued a reasoned
decision. The Superior Court, in there denial, stated: "Petition:
for writ of habeas corpus filed August 3, 1999, ls denied. The
Bentence imposed was not in violation of the negotiated plea.
(See People v. Michael Anthony CcO78811)..." The court never
addressed this issue. They cited "COC28811" as the case number.
That was in’fact the case number for this current case, so what
they were saying waa that there was no breach of agreement on
the current case. This does not address the issue of petitioners:
prior convictions not being "strikes" under Article 1, Section 106
of the United States Conatitution,

Moreover, the ovinion of the court doesn't rely on any

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federal Supreme Court authority. The issue isn’t analyzed by any
federal precedence. Therefore, this court should review the case:
de novo,

As petitioner mentioned earlier, tha court does not interpret
this claim correctly and seta forth many irrelevent findings.

Here is the issue:

Article 1, Section 10 of the United States Constitution
prohibits any state from enacting laws which impair the obligation.
of contracts. Californias Three Strikes Law is just such 4 Law
prohibited by the Constitution. (NOTH: Due to time constrainte
in filing these objections, petitioner has been unable to
sheperdize his current case law and update it with more recent
cases. He will do so should the court request it}.

The Constitutional prohibition contained in Art. 1, Sec. 10,
means that States are prohibited from enacting "Any law which
causes deviation from the terms of the contract by postponing or
accelerating the verliod of performance which it proseribes;
imposing conditions not expressed; or dispensing with the performance
of those conditions that are expressed." Green v. Biddle, (1823)
C1 U.S. 1; Federal Land Bank v. Garrison, (1937) 187 S.Ct. 255.

- The prohibition contained in the Conatitution “embraces all contracts
executed or executory, whether between individuals or between
states end individuals." Green v. Biddle, (1823) 21 U.3. l.

In short, a State may not enact statutes and ordinances
subsequent to the execution of the contract, which add burdens
or impair the obligation of the contract. CGhicago v. Seldon,
(1869) 76 U.S. 50; Gelpucke vs Dubugue, (1863) 63.0.5. 1. (See
also, Cal. Jur.3d, Section 172 of Contract Law).

Californias Three Strikes Law impairs the obligation of plea
bargains made vrior to its enactment by "imposing conditions not
expressed". When petitioner pled guilty in 1991 and 1993, his
convictions were not strikes. The Three Strikes Law imposed that
condition on all prior convictions, including pre-1994 contracts/
plea bargains. This ia the epitome of a law enacted impairing

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the obligation of contracts!
With regard to.this claim, this court should request
specific findings with regard to the exact issue, or grant the
writ and hold that Californias Three Strikes Law is unconatitutionsl
with regards to its ability to use nre-1994 plea bargains/contracts

as “strikes”,

D. FAILURE OF THE CALIFORNIA COURT OF APPEAL TO CONSIDER

PETITIONERS TRAVERSE PRIOR TO ISSUING ITS RULING

‘With regard to this issue, the: court only provides one
finding: “This allegation fails to state a federal claim...”
(citations ommitted). (FP & Rat p. 25), Thigsis vatently false.
Petitioner specifically stated that the right to file a habeas
corpus petition is guarenteed by Art. 1, Sea. 9 of the United
states Constitution and that the Constitution also guarentees

petitioner the right to Due Process of Law, and, therefore, the

right to file a traverse. (‘Traverse at pp. 4041).

Thus, this claim is clearly a federal violation and the writ
should be granted and a suitable remedy provided,

E. CRUEL AND UNUSUAL PUNISHMENT

Petitioner has already submitted on this issue and is not
sure why the court ineluded it in their findings and recommendations,

Petitioner will make one observation though. The court
relies on the Supreme Courts decision in Andrade and “wine.
Petitioner read the courts ovinion in 2003. when it came out and
feels that his case ig distinguishable from theres. Andrade had.
(3) prior serious felony convictions for first-degree burglary.
Petitioner only had two prior serious felony convictions. Ewing
had (7) or (8) vrior felony convictions with at least four of
his convictions involving violencs. Petitioner's criminal
history consists of a prior first-degree burglary in which he
received 2 gentence of county jail, a prior second-derree robbery,
and this current conviction for second-degree robbery. Petitioner
does not possess the lengthy criminal history that Andrade and
Ewing possessed, and there is a complete absence of violence in
petitioner's criminal history. Petitioner is not your typical
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third strike offender. That is what constitutes cruel and
unusual ounishment in this case,

CON CLUSION

For all the reasons contained in the petition, traverse, and
these objections, the court should:

(1) grant the writ and remand for resentencing; or

(2) conduct an evidentiary hearing; or, in the event cf a
complete denial

(3) issue a certificate of appealability to the Ninth Circuit.

St/

fst

pif

Dated: bao Respectfully eee:
Lt CC) oa

 

Wichael anthony,
Petitioner in pro per

16.

 
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Wichael Anthony, J-12891
P, V.S.P., , G3-206

P.O. Box 8503

Coalinga, GA 93216

IN THA UNITED STATES DISTRICT COURT

POR THE HASTERN DISTRICT? OF GATIRPORNTA

 

Michael Anthony, ) No. GLV $-02-0081 Pcp JEM P
Petitioner PROOF OF SERVICE
Ve.
Gali Lewis, Warden, et al., }
Resvondants
on \\ =] ((58 » petitioner delivered the following

 

 

documents to prison officials for mailing: “Notice of Address
Change and “Objections to Magistrates Mndings and Recommendations".

The above mentioned documents were placed in a postage paid
envelope addressed as follows:

Clerk of the Court Brien G. Smiley

United States Dist. Court Denuty Attorney General
Eastern Diet. of Calif, 1300 Tf Street

501 I atreet, Suite 4-200 P.O, Box 944255
Sacramento, CA 95814-2322 Sacramento, GA 94244-2550

I declare under penalty of perjury that the foregoing is
true and correct.

kxecuted this Bh gay of November, 2005 at Pleasant State

Prison, Coalinga, California.

Pdi Taare hr
